      Case 6:25-cv-00341-GAP-UAM                             Document 7             Filed 03/03/25               Page 1 of 34 PageID 61
AO 121 (6/90)
TO:


                    Register of Copyrights                                                          REPORT ON THE
                    Copyright Office                                                        FILING OR DETERMINATION OF AN
                    Library of Congress                                                            ACTION OR APPEAL
                    Washington, D.C. 20559                                                      REGARDING A COPYRIGHT


     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                       COURT NAME AND LOCATION
                ACTION             APPEAL                              USDC – Middle District of Florida
DOCKET NO.                       DATE FILED                            300 North Hogan Street Jacksonville, FL 32202


6:25-cv-00341-GAP-UAM                   February 28, 2025
PLAINTIFF                                                                      DEFENDANT



 IMAGE PROFESSIONALS GMBH                                                          BONGARDI LLC

       COPYRIGHT
                                                             TITLE OF WORK                                               AUTHOR OF WORK
    REGISTRATION NO.

1 See attached Complaint



CLERK                                                         (BY) DEPUTY CLERK                                            DATE

            ELIZABETH M. WARREN                                                       Ericka Kerr                                   March 3, 2025
                   1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
                      mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
DISTRIBUTION:
                   4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA

                                   Case No. 6:25-cv-00341

  IMAGE PROFESSIONALS GMBH
  d/b/a STOCKFOOD,

        Plaintiff,

  v.

  BONGARDI LLC d/b/a LAKE NONA
  DELI & MARKET,

        Defendant.


                                         COMPLAINT

       Plaintiff Image Professionals GmbH d/b/a StockFood (“Plaintiff”) sues

 Bongardi LLC d/b/a Lake Nona Deli & Market (“Defendant”), and alleges as

 follows:

                                        THE PARTIES

        1.    Plaintiff is a “Gesellschaft mit beschränkter Haftung” (the functional

 equivalent of a limited liability company under US law) organized and existing

 under the laws of the Federal Republic of Germany with its principal place of

 business located in Munich, Germany.

        2.    Defendant is a limited liability company organized and existing under

  the laws of the State of Florida with its principal place of business located at 8510

  Insular Ln, Orlando, FL 32827. Defendant’s agent for service of process is Rafael

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  E. Catari, 12301 Lake Underhill Road, Suite 257, Monticello, FL 32828.

                                JURISDICTION AND VENUE

        3.    This Court has subject matter jurisdiction over this action pursuant to

  28 U.S.C. §§ 1331 and 1338(a).

        4.     This Court has personal jurisdiction over Defendant because it has

  maintained sufficient minimum contacts with this State such that the exercise of

  personal jurisdiction over it would not offend traditional notions of fair play and

  substantial justice.

        5.    Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a)

  because Defendant or its agents reside or may be found in this district. “A defendant

  ‘may be found’ in a district in which he could be served with process; that is, in a

  district which may assert personal jurisdiction over the defendant.” Palmer v.

  Braun, 376 F.3d 1254, 1259-60 (11th Cir. 2004). “In other words, ‘if a court has

  personal jurisdiction over the defendants in a copyright infringement action, venue

  in that court’s district is proper.’” McGregor v. In Tune Music Grp., No. 15-62044-

  CIV-ZLOCH, 2016 U.S. Dist. LEXIS 190302, at *11 (S.D. Fla. July 29, 2016)

  (quoting Store Decor Div. of Jas Int'l, Inc. v. Stylex Worldwide Indus., Ltd., 767 F.

  Supp. 181, 185 (N.D. Ill. 1991)).




                                                      2
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                                             FACTS

 I.    Plaintiff’s Business and History

        6.   Originally started in 1979 as StockFood GmbH, Plaintiff’s goal was to

  create the largest premium collection of food images on the international

  photography market. Today, Plaintiff has amassed the world’s largest collection of

  professional food images, videos, and recipes, with approximately 1 million images

  offered from a collection of 1,500 different photographers.

        7.   Such content is offered for license on Plaintiff’s StockFood website

  (https://usa.stockfood.com/).        In 2019, Plaintiff was renamed to Image

  Professionals GmbH to account for its expansions into libraries beyond food

  photography and the provision of services to image professionals throughout the

  world.

        8.   Plaintiff’s image library was previously made available for license in

  the United States through its wholly-owned subsidiary, StockFood America, Inc.

  (“StockFood America”). In November 2020, however, Plaintiff and StockFood

  America entered into a Rights Transfer and Stock Purchase Agreement whereby

  StockFood America assigned and transferred to Plaintiff all of its copyrighted

  materials and registrations, including the work(s) at issue herein and their

  corresponding registrations with the Register of Copyrights.




                                                 3
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 II.   The Work at Issue in this Lawsuit

        9.    In 2010, one of Plaintiff’s professional contributor photographers

  created a photograph titled “11087802” (the “Work”). A copy of the Work is

  displayed below:




        10. The Work was registered by StockFood America with the Register of

  Copyrights on June 10, 2013 and was assigned Registration No. VA 1-434-122. A

  true and correct copy of the Certificate of Registration pertaining to the Work is

  attached hereto as Exhibit “A.”

        11. For all times relevant to this action, Plaintiff and the subject contributor

  photographer(s) were parties to one or more written agreements whereby such

  photographer(s) conveyed to Plaintiff certain exclusive rights in the Work,

  including but not limited to the exclusive right to reproduce the Work in copies and

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  the exclusive right to distribute copies of the Work to the public by sale and/or

  licensing. Such written agreement(s) likewise convey the exclusive right to pursue

  any infringements of the Work, whether such infringements arose prior to execution

  of the written agreement(s) or thereafter. Such written agreement(s) likewise

  authorize Plaintiff (or its wholly-owned subsidiary, StockFood America) to register

  any of the contributor photographer(s)’ photographs with the US Copyright Office

  (with Plaintiff as the claimant) to the extent such contributor photographer(s) have

  not already done so. As such, Plaintiff is entitled to institute and maintain this

  action for copyright infringement. See 17 U.S.C. § 501(b).

 III.   Defendant’s Unlawful Activities

         12. Defendant acts as a delicatessen and pizzeria in the Lake Nona region.

         13. Defendant advertises/markets its business through its website

  (https://www.lakenonadelimarketmenu.com/),                       social            media    (e.g.,

  https://www.facebook.com/lakenonadeliandmarket                                                   ,

  https://www.instagram.com/lakenonadeliandmarket/,                                            and

  https://www.youtube.com/channel/UC69poKvkBTzGyzlsyTHh5Mg), and other

  forms of advertising.

 14.    On a date after the above-referenced copyright registration of the Work,

 Defendant displayed and/or published the Work on its website, webpage, and/or

 social media (at https://www.lakenonadelimarketmenu.com/):


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 (at https://slicelife.com/restaurants/fl/orlando/32827/lake-nona-deli-market/menu):




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        15. A true and correct copy of screenshots of Defendant’s website,

  webpage, and/or social media, displaying the copyrighted Work, is attached hereto

  as Exhibit “B.”

        16. Defendant is not and has never been licensed to use or display the

  Work. Defendant never contacted Plaintiff to seek permission to use the Work in

  connection with Defendant’s website, webpage, and/or social media – even though

  the Work that was copied is clearly professional photography that would put

  Defendant on notice that the Work was not intended for public use.

        17. Defendant utilized the Work for commercial use.

        18. Upon information and belief, Defendant located a copy of the Work on

  the internet and, rather than contact Plaintiff to secure a license, simply copied the

  Work for its own commercial use.

        19. Through its ongoing diligent efforts to identify unauthorized use of its

  photographs, Plaintiff discovered Defendant’s unauthorized use/display of the

  Work in June 2024. Following Plaintiff’s discovery, Plaintiff notified Defendant in

  writing of such unauthorized use.

        20. All conditions precedent to this action have been performed or have

  been waived.

                    COUNT I – COPYRIGHT INFRINGEMENT

        21. Plaintiff re-alleges and incorporates paragraphs 1 through 20 as set forth


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  above.

        22. Each photograph comprising the Work is an original work of

  authorship, embodying copyrightable subject matter, that is subject to the full

  protection of the United States copyright laws (17 U.S.C. § 101 et seq.).

        23. Plaintiff has standing to bring this lawsuit and assert the claim(s) herein

  as it has sufficient rights, title, and interest to such copyrights (as Plaintiff was

  conveyed certain exclusive rights to reproduce and distribute the Work by the

  subject photographer(s) and/or registered the Work with the Register of Copyrights

  in Plaintiff’s name).

        24. As a result of Plaintiff’s reproduction, distribution, and public display

  of the Work, Defendant had access to the Work prior to its own reproduction,

  distribution, and public display of the Work on Defendant’s website, webpage,

  and/or social media.

        25. Defendant reproduced, distributed, displayed, and/or publicly

  displayed the Work without authorization from Plaintiff.

        26.   By its actions, Defendant infringed and violated Plaintiff’s exclusive

  rights in violation of the Copyright Act, 17 U.S.C. § 501. Defendant’s infringement

  was either direct, vicarious, and/or contributory.

       27.    Defendant’s infringement was willful as it acted with actual knowledge

 or reckless disregard for whether its conduct infringed upon Plaintiff’s copyright.


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 Defendant clearly understands that professional photography such as the Work is

 generally paid for and cannot simply be copied from the internet.

           28. Plaintiff has been damaged as a direct and proximate result of

  Defendant’s infringement.

           29.   Plaintiff is entitled to recover its actual damages resulting from

  Defendant’s unauthorized use of the Work and, at Plaintiff’s election (pursuant to

  17 U.S.C. § 504(b)), Plaintiff is entitled to recover damages based on a

  disgorgement of Defendant’s profits from infringement of the Work, which

  amounts shall be proven at trial.

           30. Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory

  damages pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the

  Court.

           31. Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its

  costs and attorneys’ fees as a result of Defendant’s conduct.

           32. Defendant’s conduct has caused, and any continued infringing conduct

  will continue to cause, irreparable injury to Plaintiff unless enjoined by the Court.

  Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is

  entitled to a permanent injunction prohibiting infringement of Plaintiff’s exclusive

  rights under copyright law.

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:


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    a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

    b. A declaration that such infringement is willful;

    c. An award of actual damages and disgorgement of profits as the Court deems

       proper or, at Plaintiff’s election, an award of statutory damages for each

       photograph comprising the Work;

    d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17

       U.S.C. § 505;

    e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing

       amounts;

    f. Permanently enjoining Defendant, its employees, agents, officers, directors,

       attorneys, successors, affiliates, subsidiaries and assigns, and all those in

       active concert and participation with Defendant, from directly or indirectly

       infringing Plaintiff’s copyrights or continuing to display, transfer, advertise,

       reproduce, or otherwise market any works derived or copied from the Work

       or to participate or assist in any such activity; and

    g. For such other relief as the Court deems just and proper.




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  Dated: February 28, 2025.                     COPYCAT LEGAL PLLC
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                                                Suite 301
                                                Coral Springs, FL 33065
                                                Telephone: (877) 437-6228
                                                dan@copycatlegal.com

                                                By: /s/ Daniel DeSouza
                                                   Daniel DeSouza, Esq.
                                                   Florida Bar No.: 19291




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                                          Filed 03/03/25          "A"
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                                                                                                                                                                    Page 15 of 34 PageID




                                                                                                                                                                                                      Your Order
          Lake Nona Deli & Market
          8510 Insular Ln, Orlando, FL 32827
          407-305-6423                 ( 227 )
                                                                                                                                                                                          Delivery or Pickup available
          Open until 8:30 PM Full Hours




        Most Popular Items           Pizzas      Specialty Pizza   Pizzas Premium   Pastas        Calzones       Appetizers   Sandwiches        Soups   Salads   Super Foods   Desserts



      Most Popular Items

        Cheese Pizza                                                                    Classic Meat Pizza
        Classic cheese or create your own pizza.                                        Pepperoni, sausage, ham, and bacon.


        $ 16.30                                                                         $ 21.25




        Chicken Parmesan Sandwich                                                       Impossible Burger with Chips
        Breaded chicken in marinara sauce with mozzarella                               Brioche bread, veggie patty, cheddar cheese,
        and Parmesan cheese.                                                            lettuce, tomatoes, onions, pickles, ketchup,
                                                                                        mustard, and mayonnaise.
        $ 12.48                                                                         $ 11.56




        Cachapa with Cheese                                                             Smoothies
        Sweet corn pancakes with fresh soft white cheese.                               Your choice of flavor.


        $ 12.36                                                                         $ 6.10




Need help?Classic Supreme Pizza                                                         Steak & Cheese Sandwich
          Pepperoni, sausage, ham, onions, green peppers,                               Shaved ribeye, provolone, onions, green peppers,
          mushrooms, banana peppers, and black olives.                                  and mushrooms.
        $ 21.25                                                                         $ 12.80




        Cuban Sandwich                                                                  Garlic Knots
        House-made roast pork, ham, Swiss, pickles, and                                 A classic snack, our garlic knots are strips of pizza
        mustard.                                                                        dough tied in a knot, baked, and then topped with
                                                                                        melted butter, garlic, and parsley.
        $ 12.80                                                                         $ 5.62




      Pizzas

        Cheese Pizza
        Classic cheese or create your own pizza.


        $ 18.00




      Specialty Pizza

        Adore Deli Pizza                                                                Buffalo Chicken Pizza
        Mixed marinara and alfredo sauce, mozzarella,                                   Breaded chicken breast, buffalo sauce, mozzarella,
        onions, bacon, mushrooms, and parmesan cheese.                                  and blue cheese crumbles.
        $ 22.00                                                                         $ 22.00




        Marisa Pizza                                                                    Bianca Pizza
        Mozzarella, sundried tomatoes, goat cheese,                                     Alfredo sauce, mozzarella, ricotta cheese, parsley
        prosciutto, and arugula.                                                        flakes, and garlic oil.
        $ 25.00                                                                         $ 22.00




        Classic Supreme Pizza                                                           Vegetarian Pizza
        Pepperoni, sausage, ham, onions, green peppers,                                 Onions, green peppers, tomatoes, mushrooms,
        mushrooms, banana peppers, and black olives.                                    banana peppers, and black olives.
        $ 25.00                                                                         $ 20.00




        Classic Meat Pizza                                                              Margherita Pizza
        Pepperoni, sausage, ham, and bacon.                                             Pizza red sauce, tomatoes, pesto, and mozzarella.


        $ 25.00                                                                         $ 20.00




        Chicken Pesto Pizza                                                             Hawaiian Pizza
        Pesto base, chicken, mozzarella, and tomatoes.                                  Ham and pineapple.
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   $ 22.00                                                $ 22.00




   BBQ Chicken Pizza                                      Vegan Pizza
   BBQ chicken, red onions, mushrooms, bacon, and         Marinara sauce, chickpeas, broccoli, onions,
   BBQ sauce.                                             tomatoes, mushrooms and arugula.
   $ 23.00                                                $ 22.00




  Pizzas Premium

   Carbonara                                              Napolitana Quattro Formaggi
   Alfredo base, mozzarella, bacon, onion, grilled        Marinara base, mozzarella, blue cheese, provolone,
   chicken                                                parmesano
   $ 49.50                                                $ 49.50




   Amore Mio                                              Napolitana
   Alfredo base, mozzarella, mushroom, onion, goat        Marinara base, mozzarella, tomato, basil, parmesano
   cheese, honey
   $ 49.50                                                $ 49.50




   Bianca Quattro Formaggi                                Prosciutto e Funchi
   Alfredo Base, mozarella, blue cheese, provolone,       Pizza sauce, mozzarella, mushroom, prosciutto
   parmesano
   $ 49.50                                                $ 49.50




  Pastas

   Ziti Marinara                                          Ziti Brocoli
                                                          Broccoli, garlic, and olive oil.


   $ 12.10                                                $ 13.20




   Ziti Marinara with Meatballs                           Ziti Mushrooms
                                                          Mushrooms, garlic butter, alfredo sauce, white wine,
                                                          and parmesan cheese.
   $ 13.20                                                $ 14.00




   Ziti Marinara with Chicken Parmigiana                  Ziti Pesto
   Breaded chicken with marinara or alfredo sauce,
   mozzarella cheese, and parmesan cheese.
   $ 14.00                                                $ 12.10




   Ziti Adore                                             Ziti Alfredo
   Mixed marinara with alfredo.


   $ 12.60                                                $ 12.10




   Baked Ziti
   Ziti baked with ricotta, mozzarella, marinara sauce,
   Parmesan cheese, and parsley flakes.
   $ 13.20




  Calzones

   Calzone                                                Vegan Calzone
   Mozzarella, ricotta, and a side of marinara sauce.     Marinara sauce, chickpeas, broccoli, onions,
                                                          tomatoes, and mushrooms, topped with arugula.
   $ 20.00                                                $ 22.50




  Appetizers

   Bruschetta                                             Garlic Bread
   Garlic, pesto, onions, tomatoes, and shredded          Bread, topped with garlic, herb seasoning, baked to
   mozzarella.                                            perfection.
   $ 9.20                                                 $ 4.37




   Sliders                                                Garlic Bread with Cheese
   Garlic knots stuffed with choice of pepperoni or       French garlic bread with cheese served with
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   meatballs, topped with mozzarella cheese.             marinara sauce.

   $ 8.80                                                $ 4.80




   Mozzarella Sticks                                     Garlic Knots
   Deep fried cheese sticks. Crispy on the outside,      A classic snack, our garlic knots are strips of pizza
   gooey on the inside.                                  dough tied in a knot, baked, and then topped with
                                                         melted butter, garlic, and parsley.
   $ 9.50                                                $ 6.50




   Meatballs with Marinara Sauce


   $ 8.20




  Sandwiches

   Chicken Parmesan Sandwich                             Buffalo Chicken Sandwich
   Breaded chicken in marinara sauce with mozzarella     Breaded chicken breast tossed with buffalo sauce,
   and Parmesan cheese.                                  topped with blue cheese crumbles, lettuce,
                                                         tomatoes, and onions.
   $ 14.30                                               $ 14.30




   Prosciutto Sandwich                                   Turkey Club Sandwich
   Mozzarella, prosciutto, sundried tomatoes, arugula,   Boar's Head oven gold turkey, bacon, Swiss, lettuce,
   and pesto.                                            tomatoes, onions, and mayonnaise.
   $ 14.30                                               $ 14.30




   Meatball Parmesan Sandwich                            Vegetarian Sandwich
   Meatballs, red sauce, mozzarella, and parmesan        Lettuce, tomatoes, red onions, mushrooms, green
   cheese.                                               peppers, black olives, and your choice of cheese.
   $ 14.30                                               $ 13.60




   Cuban Sandwich                                        Capresse Sandwich
   House-made roast pork, ham, Swiss, pickles, and       Fresh mozzarella, tomatoes, and pesto.
   mustard.
   $ 14.60                                               $ 13.90




   Italian Classic Sandwich                              Tuna Melt Sandwich
   Boar’s Head ham, salami, pepperoni, provolone,        Tuna, American cheese, lettuce, onions, and
   Italian dressing, lettuce, tomatoes and onions.       tomatoes.
   $ 14.30                                               $ 14.30




   Dill Chicken Salad Sandwich                           Grilled Cheese Sandwich
                                                         Creamy grilled cheese sandwich.


   $ 14.30                                               $ 9.99




   Steak & Cheese Sandwich                               BLT Sandwich
   Shaved ribeye, provolone, onions, green peppers,      Bacon, lettuce, and tomatoes.
   and mushrooms.
   $ 14.60                                               $ 11.80




   Gyro Sandwich                                         Build Your Own Sandwich
                                                         Choice of bread, one meat, one cheese, and
                                                         condiment, with lettuce, tomatoes, and onions.
   $ 14.30                                               $ 13.60




  Soups

   Soup of The Day


   $ 8.80




  Salads

   Chef Salad                                            Lake Nona Market Salad
   Romaine lettuce topped with tomatoes, bacon, ham,     Romaine lettuce, crisp apple, dried cranberries, and
   turkey, red onions, cheddar cheese, and boiled egg.   homemade candied walnut/pecans.
   $ 14.20                                               $ 14.20




   Caesar Salad                                          The Greek Salad
   Romaine lettuce, Parmesan, and homemade               Romaine lettuce, feta cheese, tomatoes, onions,
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   croutons.                                              kalamata olives, pepperoncini & green peppers.

   $ 13.20                                                $ 14.00




   Buffalo Chicken Salad                                  Tuna Salad
   Romaine lettuce, topped with grilled buffalo chicken   Romaine lettuce topped with tuna, tomatoes, red
   strips, red onions and blue cheese crumbles            onions, kalamata olives, and cheddar cheese.
   $ 14.00                                                $ 14.00




   Garden Salad
   Romaine lettuce, tomatoes, red onions, green
   peppers, croutons, black olives, and banana
   peppers.
   $ 13.20




  Super Foods

   Cachapa with Cheese                                    2 Vegan Hot Dog
   Sweet corn pancakes with fresh soft white cheese.


   $ 14.10                                                $ 10.35




   Cheese Burger With Chips                               French Fries
   Beef patty, cheddar cheese, lettuce, tomatoes,
   onions, pickles, mayonnaise, mustard, and ketchup.
   $ 11.20                                                $ 5.80




   Two Hot Dogs & Chips                                   Chicken Tenders and French Fries


   $ 9.25                                                 $ 13.50




   Chicken Wings                                          Impossible Burger with chips
   Chicken wings with carrots, celery, and blue cheese
   dressing.
   $ 13.20                                                $ 13.35




   Tequenos                                               Chicken Nuggets (5)


   $ 9.65                                                 $ 8.80




  Desserts

   2 Big Red Velvet Cookies                               Cookies


   $ 7.10                                                 $ 5.10




   Nutella Knots                                          Gelato From Gelato-Go


   $ 8.50                                                 $ 9.42




  Snacks and Candies

   Snickers 1.86 Oz                                       Hershey´s Cookies and Creme 1.55 oz


   $ 3.70                                                 $ 3.70




   Milkyway 1.84 Oz                                       Hershey´s Milk Chocolate 1.55 oz


   $ 3.70                                                 $ 3.70




   Twix 1.79 Oz                                           M&M's Peanut 1.74 oz


   $ 3.70                                                 $ 3.70




   KitKat 1.5 Oz                                          Skittles Original 2.17 oz
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   $ 3.70                          $ 3.70




   Reese's 1.5 Oz                  M&M´s Chocolate 1.74 oz


   $ 3.70                          $ 3.70




   Crunch 1.55 Oz


   $ 3.70




  Smoothies

   Mixed Tropical Fruit Smoothie   Pineapple Smoothie


   $ 8.00                          $ 8.00




   Strawberry Smoothie             Mango Smoothie


   $ 8.00                          $ 8.00




  Beverages

   20 Oz Drinks                    Powerade Fruit Ponche


   $ 3.40                          $ 4.60




   Milkshake                       Powerade Mixed Berry ZERO SUGAR


   $ 12.15                         $ 4.60




   Perrier 19.9 Oz                 Monster


   $ 5.80                          $ 4.60




   Soda                            Monster Zero Sugar


   $ 3.10                          $ 4.60




   Gold Peak Green Tea             Spindrift Lime


   $ 6.50                          $ 3.10




   Gold Peak Unsweetened Tea       Spindrift Grapefruit


   $ 6.50                          $ 3.10




   Gold Peak Georgia Peach Tea     Spindrift Lemon


   $ 6.50                          $ 3.10




   Body Armor Superior Hydration   Minute Maid Apple


   $ 4.60                          $ 4.60




   Body Armor                      Minute Maid Orange
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   $ 4.60                                                        $ 4.60




   Core Power 42g Complete Protein Strawberry                    Minute Maid Tropical


   $ 4.60                                                        $ 4.60




   Core Power 42g Complete Protein Chocolate                     Red Bull 8.4 Oz


   $ 4.60                                                        $ 3.10




   Core Power 42g Complete Protein Vanilla                       Dasani Water


   $ 4.60                                                        $ 2.50




  Breakfasts

       Only available 9:00 AM    - 11:45   AM


   1) Bacon,   scrambled eggs and american cheese                10) Plain Bagel - Bagel and cream cheese
   Mexican Breakfast Burrito                                     Bagel


   $ 10.36                                                       $ 5.40




   2) Sausage, scrambled eggs and american cheese                11) American   Bagel - Bacon, egg and cream cheese
   Mexican Breakfast Burrito                                     Bagel


   $ 10.36                                                       $ 10.60




   3) Veggies, scrambled eggs and american cheese (tomato,       12) Italian Bagel - Cream cheese, onion, salt, pepper,
   onion, green pepper, mushrooms)                               prosciutto, olive oil, arugula
                                                                 Bagel


   $ 10.36                                                       $ 11.90




   4) Bacon, scrambled eggs and american cheese                  Scramble Eggs, American Cheese, Bacon
   French Breakfast Croissant


   $ 10.00                                                       $ 11.50




   5) Ham, scrambled eggs and american cheese                    Scramble Eggs, Swiss Cheese, Ham
   French Breakfast Croissant


   $ 10.00                                                       $ 11.50




   6) Veggies, scrambled eggs and american cheese                Scramble Eggs, American Cheese, Veggies
   French Breakfast Croissant


   $ 10.00                                                       $ 11.50




   7) American full protein Bacon, ham, sausage, egg and         Scramble Eggs With BLT (Bacon, Lettuce and Tomatoes)
   mozzarellaBreakfast
   American     cheese Bowl

   $ 11.80                                                       $ 11.50




   8) American Veggies. Tomato, onion, green pepper, mushroom,   Breakfast Pizza
   egg and mozzarella
   American             cheese
            Breakfast Bowl                                       Parmesan, Oregano and Olive Oil


   $ 11.20                                                       $ 13.60




   9) American Vegan. Vegan hot dog, tomato, onion, green
   pepper, mushroom,
   American             chickpea
            Breakfast Bowl


   $ 11.80




  Lunch Specials

       Available from 11:00 AM    - 2:00   PM
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   Grilled Cheese Sandwich & Soup Lunch                                     2 Slices Cheese Pizza and Can Soda
   Available from 11 am - 4 pm.                                             Available from 11 am - 4 pm.


   $ 12.00                                                                  $ 12.00




   Spaghetti with Meatballs Lunch                                           White Rice, Chicken Parmesan & Caesar
   Available from 11 am - 4 pm.                                             Salad from 11 am - 4 pm.
                                                                            Available


   $ 12.00                                                                  $ 12.00




   Chef Salad Lunch                                                         Spaghetti & Chicken Parmesan Lunch
   Available from 11 am - 4 pm.                                             Available from 11 am - 4 pm.


   $ 12.00                                                                  $ 12.00




   Buffalo Chicken Salad Lunch                                              White Rice, Chicken Wings & Black Beans
   Available from 11 am - 4 pm.                                             Lunch from 11 am - 4 pm.
                                                                            Available


   $ 12.00                                                                  $ 12.00




  Appetizers Catering

   Tequenos Catering                                                        Chicken Wings Catering
   Venezuelan cheese sticks.                                                Your choice of wings.


   $ 56.25                                                                  $ 75.00




  Sandwiches & Hot Dogs Catering

   Ovengold Turkey Sandwich Platter Catering                                Dill Chicken Salad Sandwich Platter Catering
   With cheese, lettuce, tomatoes, and onions.                              With cheese, lettuce, tomatoes, and onions.


   $ 93.75                                                                  $ 93.75




   Ham Sandwich Platter Catering                                            Tuna Salad Sandwich Platter
   With cheese, lettuce, tomatoes, and onions.                              With cheese, lettuce, tomatoes, and onions.


   $ 93.75                                                                  $ 93.75




   Italian Sandwich Platter Catering                                        Hot Dogs Catering
   With cheese, lettuce, tomatoes, and onions.


   $ 93.75                                                                  $ 56.25




   Vegetarian Sandwich Platter Catering
   With cheese, lettuce, tomatoes, and onions.


   $ 81.25




  Hot Entrees Catering

   Chicken Parmesan Catering                                                Ziti Marinara Catering
   Breaded chicken cutlets with tomato sauce, mozzarella cheese, and
   parmesan.
   $ 81.25                                                                  $ 60.00




   Baked Ziti Catering                                                      Spaghettis Alfredo Catering
   Ziti with mozzarella and tomato sauce baked to perfection in our oven.   Fettuccine tossed in our creamy homemade alfredo sauce.
   Supersized for your party.
   $ 81.25                                                                  $ 100.00




  Salads Catering

   The Greek Salad Catering                                                 Chef Salad Catering
   Romaine with feta, tomatoes, onions, Kalamata olives, pepperoncini,      Romaine with tomatoes, bacon, ham, turkey, red onion, cheddar, and
   and green peppers.                                                       boiled egg.
   $ 60.00                                                                  $ 81.25




   Lake Nona Market Salad Catering                                          Caesar Salad Catering
   Romaine with apples, dried cranberries, and candied walnuts & pecans.    Romaine with Parmesan, croutons, and Caesar dressing.
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   $ 60.00                                                                                 $ 60.00




   Tuna Salad Catering                                                                     Garden Salad Catering
   Romaine with tuna, tomatoes, cheddar, red onions, and Kalamata olives.                  Romaine with diced tomatoes, red onions, green peppers, croutons,
                                                                                           black olives, and banana peppers.
   $ 81.25                                                                                 $ 60.00




  Sides Catering

   Meatballs & Marinara Catering


   $ 62.50




  Desserts Catering

   Nutella Knots Catering                                                                  Cookies Catering
                                                                                           Your choice of cookies.


   $ 50.00                                                                                 $ 43.75




  Beer & Wine

   Cabernet Sauvignon                                                                      Moscatto


   $ 16.00                                                                                 $ 16.00




   Pinot Grigio                                                                            Chardonay


   $ 16.00                                                                                 $ 16.00




   Sauvignon Blanc                                                                         Sangria


   $ 16.00                                                                                 $ 18.40




                  Ratings & Reviews
                                                                                    4.9
                                                                                  227 ratings

                  4 Reviews

                   Sort                               Filter
                   Most Recent                        Star Ratings



                  Feb 20, 2022        Good experience

                                      Verified Slice Customer

                  Was this helpful?     0         0                                                                                               Flag



                  May 29, 2021        The food was great and the order was ready timely.

                                      Kimberly R.

                  Was this helpful?     0         0                                                                                               Flag



                  Sep 13, 2020        Easy to order, pizza was on time!

                                      Javier A.

                  Was this helpful?     0         0                                                                                               Flag



                  Jul 19, 2020        Fast reliable and accurate

                                      Francisco R.

                  Was this helpful?     0         0                                                                                               Flag




                  Have a question about this? Ask people who own it.
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                                    Start typing and see existing answers. Learn more

                                                              Does Lake Nona Deli & Market have online ordering?
                                           Answer:            Yes, Lake Nona Deli & Market has online ordering through Slice, the largest pizza brand in the US.

                                                              Does Lake Nona Deli & Market offer delivery?
                                           Answer:            Lake Nona Deli & Market does offer delivery. Delivery is $5.

                                                              Does Lake Nona Deli & Market offer curbside pickup?
                                           Answer:            Yes, Lake Nona Deli & Market has curbside pickup service available.

                                                              Where is Lake Nona Deli & Market located?
                                           Answer:            Lake Nona Deli & Market is located at 8510 Insular Ln, Orlando, FL 32827.

                                                              What are the hours for Lake Nona Deli & Market?
                                           Answer:            Lake Nona Deli & Market is open every day of the week. Here are their full hours. Please remember that these
                                                              times can change.
                                                              Monday: 9:00 am - 8:30 pm
                                                              Tuesday: 9:00 am - 8:30 pm
                                                              Wednesday: 9:00 am - 8:30 pm
                                                              Thursday: 9:00 am - 8:30 pm
                                                              Friday: 9:00 am - 8:30 pm
                                                              Saturday: 10:00 am - 8:30 pm
                                                              Sunday: 11:00 am - 7:30 pm

                                                              What time does Lake Nona Deli & Market close?
                                           Answer:            Lake Nona Deli & Market closes at 8:30 pm every day except Sunday when they close at 7:30 pm.

                                                              What time does Lake Nona Deli & Market open?
                                           Answer:            Lake Nona Deli & Market opens at 9:00 am every day except Saturday when they open at 10:00 am Sunday
                                                              when they open at 11:00 am.

                                                              Is Lake    Nona Deli & Market open on Sunday?
                                           Answer:            Currently, Lake Nona Deli & Market plans to be open on Sunday from 11:00 am to 7:30 pm for Delivery and
                                                              Pickup. These hours can change so be sure to check back.

                                                              Does Lake Nona Deli & Market have any deals?
                                           Answer:            Lake Nona Deli & Market is not currently offering deals.

                                                              What food is served at Lake Nona Deli & Market?
                                           Answer:            Lake Nona Deli & Market makes vegan pizza, healthy pizza, veggie pizza and more!

                                                              Does Lake Nona Deli & Market have wings?
                                           Answer:            Yes, Lake Nona Deli & Market has chicken wings, white rice, chicken wings & black beans lunch and chicken
                                                              wings catering.

                                                              Does Lake Nona Deli & Market offer vegan or vegetarian pizza?
                                           Answer:            Yes, Lake Nona Deli & Market has both vegan and vegetarian options.

                                                              Does Lake Nona Deli & Market have thin crust pizza?
                                           Answer:            It   doesn't look like there are thin crust options at Lake Nona Deli & Market.


                                                  Lake Nona Deli & Market - View Menu & Order Online - 8510 Insular Ln, Orlando, FL 32827 - Slice
                                                  Slice  FL    Orlando   32827    Lake Nona Deli & Market
                                                  Price: $$
                                                  Cuisine: vegan pizza healthy pizza veggie pizza
                                                                              ,                ,




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                                                          Pizza Near Me

                                                          Pickup Service Near Me

                                                          Top Brands




Browse Delivery or Pickup by City

New York City                                             Brooklyn                                            Bronx

Staten Island                                             Philadelphia                                        Baltimore

Chicago                                                   Las Vegas                                           Nashville

Seattle                                                   San Francisco                                       Boston

View All Cities



Browse by Pizza Types

New York Pizza                                            Sicilian Pizza                                      Veggie Pizza

Deep Dish Pizza                                           By the Slice                                        Gluten Free Pizza

Neapolitan Pizza                                          Tomato Pie                                          Grandma Pizza

Thin Crust Pizza                                          Stuffed Pizza                                       Thick Crust Pizza

View All Pizza Types
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Browse by Dishes

Caesar Salad                         Cheesecake                                      Cheeseburger Sub

Cheesesteak                          Cookies                                         French onion soup

Fried Chicken                        Pasta                                           Pierogies

Shrimp                               Stromboli                                       Wings

View All Dish Types



More Restaurants

The Bronx Pizza                      Cicis Pizza                                     Real New York Pizza

The New York Pizza Company           Tartini Pizzeria &                              Napoli Italian Pizzeria
                                     Spaghetteria

Ferrara Pizza & Pasta                Beirut Bakery & Deli                            Real New York Pizza

El Rapido   Pizza Cubana             Buca Di Beppo                                   Mario's Pizza & Subs

Chaat House Restaurant               Nexus Pizza                                     Antonio's House of Pizza

Anthony's Pizza                      Pie Fection                                     Cicis Pizza

A Slice of NY Pizza                  Mama Romano's                                   Nona Street Pizza



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Lake Nona Deli & Market       open now    9:00 AM-8:30 PM                                                                                         8510 Insular Ln, Orlando, FL 32827   Menu     Hours     About




                                                            Lake Nona Deli & Market
                                                                               View Menu                            Start Order




                                                                                                                                                            Your Order
      Most Popular Items

        Cheese Pizza                                                      Chicken Parmesan Sandwich                                                                  Delivery                 Pickup
        Classic cheese or create your own pizza.                          Breaded chicken in marinara sauce with mozzarella and                                     20 - 35 min           15 - 30 min
                                                                          Parmesan cheese.
                                                                                                                                                                 No address                        Add address
        $16.30                                                            $12.48




        Cachapa with Cheese                                               Classic Supreme Pizza
        Sweet corn pancakes with fresh soft white cheese.                 Pepperoni, sausage, ham, onions, green peppers, mushrooms,
                                                                          banana peppers, and black olives.

        $12.36                                                            $21.25




        Cuban Sandwich                                                    Classic Meat Pizza
        House-made roast pork, ham, Swiss, pickles, and mustard.          Pepperoni, sausage, ham, and bacon.


        $12.80                                                            $21.25




        Impossible Burger with Chips                                      Smoothies
        Brioche bread, veggie patty, cheddar cheese, lettuce, tomatoes,   Your choice of flavor.
        onions, pickles, ketchup, mustard, and mayonnaise.

        $11.56                                                            $6.10




        Steak & Cheese Sandwich                                           Garlic Knots
        Shaved ribeye, provolone, onions, green peppers, and              A classic snack, our garlic knots are strips of pizza dough tied in
        mushrooms.                                                        a knot, baked, and then topped with melted butter, garlic, and
                                                                          parsley.
        $12.80                                                            $5.62




      Pizzas

        Cheese Pizza
        Classic cheese or create your own pizza.


        $18.00




      Specialty Pizza

        Adore Deli Pizza                                                  Marisa Pizza
        Mixed marinara and alfredo sauce, mozzarella, onions, bacon,      Mozzarella, sundried tomatoes, goat cheese, prosciutto, and
        mushrooms, and parmesan cheese.                                   arugula.

        $22.00                                                            $25.00
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 Classic Supreme Pizza                                           Classic Meat Pizza
 Pepperoni, sausage, ham, onions, green peppers, mushrooms,      Pepperoni, sausage, ham, and bacon.
 banana peppers, and black olives.

 $25.00                                                          $25.00




 Chicken Pesto Pizza                                             BBQ Chicken Pizza
 Pesto base, chicken, mozzarella, and tomatoes.                  BBQ chicken, red onions, mushrooms, bacon, and BBQ sauce.


 $22.00                                                          $23.00




 Buffalo Chicken Pizza                                           Bianca Pizza
 Breaded chicken breast, buffalo sauce, mozzarella, and blue     Alfredo sauce, mozzarella, ricotta cheese, parsley flakes, and
 cheese crumbles.                                                garlic oil.

 $22.00                                                          $22.00




 Vegetarian Pizza                                                Margherita Pizza
 Onions, green peppers, tomatoes, mushrooms, banana peppers,     Pizza red sauce, tomatoes, pesto, and mozzarella.
 and black olives.

 $20.00                                                          $20.00




 Hawaiian Pizza                                                  Vegan Pizza
 Ham and pineapple.                                              Marinara sauce, chickpeas, broccoli, onions, tomatoes,
                                                                 mushrooms and arugula.

 $22.00                                                          $22.00




Pizzas Premium

 Carbonara                                                       Amore Mio
 Alfredo base, mozzarella, bacon, onion, grilled chicken         Alfredo base, mozzarella, mushroom, onion, goat cheese, honey


 $49.50                                                          $49.50




 Bianca Quattro Formaggi                                         Napolitana Quattro Formaggi
 Alfredo Base, mozarella, blue cheese, provolone, parmesano      Marinara base, mozzarella, blue cheese, provolone, parmesano


 $49.50                                                          $49.50




 Napolitana                                                      Prosciutto e Funchi
 Marinara base, mozzarella, tomato, basil, parmesano             Pizza sauce, mozzarella, mushroom, prosciutto


 $49.50                                                          $49.50




Pastas

 Ziti Marinara                                                   Ziti Marinara with Meatballs




 $12.10                                                          $13.20




 Ziti Marinara with Chicken Parmigiana                           Ziti Adore
 Breaded chicken with marinara or alfredo sauce, mozzarella      Mixed marinara with alfredo.
 cheese, and parmesan cheese.

 $14.00                                                          $12.60




 Baked Ziti                                                      Ziti Brocoli
 Ziti baked with ricotta, mozzarella, marinara sauce, Parmesan   Broccoli, garlic, and olive oil.
 cheese, and parsley flakes.

 $13.20                                                          $13.20




 Ziti Mushrooms                                                  Ziti Pesto
 Mushrooms, garlic butter, alfredo sauce, white wine, and
 parmesan cheese.

 $14.00                                                          $12.10
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 Ziti Alfredo




 $12.10




Calzones

 Calzone                                                               Vegan Calzone
 Mozzarella, ricotta, and a side of marinara sauce.                    Marinara sauce, chickpeas, broccoli, onions, tomatoes, and
                                                                       mushrooms, topped with arugula.

 $20.00                                                                $22.50




Appetizers

 Bruschetta                                                            Sliders
 Garlic, pesto, onions, tomatoes, and shredded mozzarella.             Garlic knots stuffed with choice of pepperoni or meatballs,
                                                                       topped with mozzarella cheese.

 $9.20                                                                 $8.80




 Mozzarella Sticks                                                     Meatballs with Marinara Sauce
 Deep fried cheese sticks. Crispy on the outside, gooey on the
 inside.

 $9.50                                                                 $8.20




 Garlic Bread                                                          Garlic Bread with Cheese
 Bread, topped with garlic, herb seasoning, baked to perfection.       French garlic bread with cheese served with marinara sauce.


 $4.37                                                                 $4.80




 Garlic Knots
 A classic snack, our garlic knots are strips of pizza dough tied in
 a knot, baked, and then topped with melted butter, garlic, and
 parsley.
 $6.50




Sandwiches

 Chicken Parmesan Sandwich                                             Prosciutto Sandwich
 Breaded chicken in marinara sauce with mozzarella and                 Mozzarella, prosciutto, sundried tomatoes, arugula, and pesto.
 Parmesan cheese.

 $14.30                                                                $14.30




 Meatball Parmesan Sandwich                                            Cuban Sandwich
 Meatballs, red sauce, mozzarella, and parmesan cheese.                House-made roast pork, ham, Swiss, pickles, and mustard.


 $14.30                                                                $14.60




 Italian Classic Sandwich                                              Dill Chicken Salad Sandwich
 Boar’s Head ham, salami, pepperoni, provolone, Italian dressing,
 lettuce, tomatoes and onions.

 $14.30                                                                $14.30




 Steak & Cheese Sandwich                                               Gyro Sandwich
 Shaved ribeye, provolone, onions, green peppers, and
 mushrooms.

 $14.60                                                                $14.30




 Buffalo Chicken Sandwich                                              Turkey Club Sandwich
 Breaded chicken breast tossed with buffalo sauce, topped with         Boar's Head oven gold turkey, bacon, Swiss, lettuce, tomatoes,
 blue cheese crumbles, lettuce, tomatoes, and onions.                  onions, and mayonnaise.

 $14.30                                                                $14.30




 Vegetarian Sandwich                                                   Capresse Sandwich
 Lettuce, tomatoes, red onions, mushrooms, green peppers,              Fresh mozzarella, tomatoes, and pesto.
 black olives, and your choice of cheese.

 $13.60                                                                $13.90
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 Tuna Melt Sandwich                                                 Grilled Cheese Sandwich
 Tuna, American cheese, lettuce, onions, and tomatoes.              Creamy grilled cheese sandwich.


 $14.30                                                             $9.99




 BLT Sandwich                                                       Build Your Own Sandwich
 Bacon, lettuce, and tomatoes.                                      Choice of bread, one meat, one cheese, and condiment, with
                                                                    lettuce, tomatoes, and onions.

 $11.80                                                             $13.60




Soups

 Soup of The Day




 $8.80




Salads

 Chef Salad                                                         Caesar Salad
 Romaine lettuce topped with tomatoes, bacon, ham, turkey, red      Romaine lettuce, Parmesan, and homemade croutons.
 onions, cheddar cheese, and boiled egg.

 $14.20                                                             $13.20




 Buffalo Chicken Salad                                              Garden Salad
 Romaine lettuce, topped with grilled buffalo chicken strips, red   Romaine lettuce, tomatoes, red onions, green peppers, croutons,
 onions and blue cheese crumbles                                    black olives, and banana peppers.

 $14.00                                                             $13.20




 Lake Nona Market Salad                                             The Greek Salad
 Romaine lettuce, crisp apple, dried cranberries, and homemade      Romaine lettuce, feta cheese, tomatoes, onions, kalamata
 candied walnut/pecans.                                             olives, pepperoncini & green peppers.

 $14.20                                                             $14.00




 Tuna Salad
 Romaine lettuce topped with tuna, tomatoes, red onions,
 kalamata olives, and cheddar cheese.

 $14.00




Super Foods

 Cachapa with Cheese                                                Cheese Burger With Chips
 Sweet corn pancakes with fresh soft white cheese.                  Beef patty, cheddar cheese, lettuce, tomatoes, onions, pickles,
                                                                    mayonnaise, mustard, and ketchup.

 $14.10                                                             $11.20




 Two Hot Dogs & Chips                                               Chicken Wings
                                                                    Chicken wings with carrots, celery, and blue cheese dressing.


 $9.25                                                              $13.20




 Tequenos                                                           2 Vegan Hot Dog




 $9.65                                                              $10.35




 French Fries                                                       Chicken Tenders and French Fries




 $5.80                                                              $13.50
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 Impossible Burger with chips          Chicken Nuggets (5)




 $13.35                                $8.80




Desserts

 2 Big Red Velvet Cookies              Nutella Knots




 $7.10                                 $8.50




 Cookies                               Gelato From Gelato-Go




 $5.10                                 $9.42




Snacks and Candies

 Snickers 1.86 Oz                      Milkyway 1.84 Oz




 $3.70                                 $3.70




 Twix 1.79 Oz                          KitKat 1.5 Oz




 $3.70                                 $3.70




 Reese's 1.5 Oz                        Crunch 1.55 Oz




 $3.70                                 $3.70




 Hershey´s Cookies and Creme 1.55 oz   Hershey´s Milk Chocolate 1.55 oz




 $3.70                                 $3.70




 M&M's Peanut 1.74 oz                  Skittles Original 2.17 oz




 $3.70                                 $3.70




 M&M´s Chocolate 1.74 oz




 $3.70




Smoothies

 Mixed Tropical Fruit Smoothie         Strawberry Smoothie




 $8.00                                 $8.00




 Pineapple Smoothie                    Mango Smoothie




 $8.00                                 $8.00
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Beverages

 20 Oz Drinks                                Milkshake




 $3.40                                       $12.15




 Perrier 19.9 Oz                             Soda




 $5.80                                       $3.10




 Gold Peak Green Tea                         Gold Peak Unsweetened Tea




 $6.50                                       $6.50




 Gold Peak Georgia Peach Tea                 Body Armor Superior Hydration




 $6.50                                       $4.60




 Body Armor                                  Core Power 42g Complete Protein Strawberry




 $4.60                                       $4.60




 Core Power 42g Complete Protein Chocolate   Core Power 42g Complete Protein Vanilla




 $4.60                                       $4.60




 Powerade Fruit Ponche                       Powerade Mixed Berry ZERO SUGAR




 $4.60                                       $4.60




 Monster                                     Monster Zero Sugar




 $4.60                                       $4.60




 Spindrift Lime                              Spindrift Grapefruit




 $3.10                                       $3.10




 Spindrift Lemon                             Minute Maid Apple




 $3.10                                       $4.60




 Minute Maid Orange                          Minute Maid Tropical




 $4.60                                       $4.60




 Red Bull 8.4 Oz                             Dasani Water




 $3.10                                       $2.50
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Breakfasts
    Only available 9:00 AM - 11:45 AM



 1) Bacon, scrambled eggs and american cheese                              2) Sausage, scrambled eggs and american cheese
 Mexican Breakfast Burrito                                                 Mexican Breakfast Burrito


 $10.36                                                                    $10.36




 3) Veggies, scrambled eggs and american cheese (tomato, onion, green      4) Bacon, scrambled eggs and american cheese
 pepper, mushrooms)                                                        French Breakfast Croissant


 $10.36                                                                    $10.00




 5) Ham, scrambled eggs and american cheese                                6) Veggies, scrambled eggs and american cheese
 French Breakfast Croissant                                                French Breakfast Croissant


 $10.00                                                                    $10.00




 7) American full protein Bacon, ham, sausage, egg and mozzarella cheese   8) American Veggies. Tomato, onion, green pepper, mushroom, egg and
 American Breakfast Bowl                                                   mozzarella
                                                                           American    cheeseBowl
                                                                                    Breakfast


 $11.80                                                                    $11.20




 9) American Vegan. Vegan hot dog, tomato, onion, green pepper,            10) Plain Bagel - Bagel and cream cheese
 mushroom,
 American     chickpea
          Breakfast Bowl                                                   Bagel


 $11.80                                                                    $5.40




 11) American Bagel - Bacon, egg and cream cheese                          12) Italian Bagel - Cream cheese, onion, salt, pepper, prosciutto, olive oil,
 Bagel                                                                     arugula
                                                                           Bagel


 $10.60                                                                    $11.90




 Scramble Eggs, American Cheese, Bacon                                     Scramble Eggs, Swiss Cheese, Ham




 $11.50                                                                    $11.50




 Scramble Eggs, American Cheese, Veggies                                   Scramble Eggs With BLT (Bacon, Lettuce and Tomatoes)




 $11.50                                                                    $11.50




 Breakfast Pizza
 Parmesan, Oregano and Olive Oil


 $13.60




Lunch Specials
    Available from 11:00 AM - 2:00 PM



 Grilled Cheese Sandwich & Soup Lunch                                      Spaghetti with Meatballs Lunch
 Available from 11 am - 4 pm.                                              Available from 11 am - 4 pm.


 $12.00                                                                    $12.00




 Chef Salad Lunch                                                          Buffalo Chicken Salad Lunch
 Available from 11 am - 4 pm.                                              Available from 11 am - 4 pm.


 $12.00                                                                    $12.00
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 2 Slices Cheese Pizza and Can Soda                                              White Rice, Chicken Parmesan & Caesar Salad
 Available from 11 am - 4 pm.                                                    Available from 11 am - 4 pm.


 $12.00                                                                          $12.00




 Spaghetti & Chicken Parmesan Lunch                                              White Rice, Chicken Wings & Black Beans Lunch
 Available from 11 am - 4 pm.                                                    Available from 11 am - 4 pm.


 $12.00                                                                          $12.00




Appetizers Catering

 Tequenos Catering                                                               Chicken Wings Catering
 Venezuelan cheese sticks.                                                       Your choice of wings.


 $56.25                                                                          $75.00




Sandwiches & Hot Dogs Catering

 Ovengold Turkey Sandwich Platter Catering                                       Ham Sandwich Platter Catering
 With cheese, lettuce, tomatoes, and onions.                                     With cheese, lettuce, tomatoes, and onions.


 $93.75                                                                          $93.75




 Italian Sandwich Platter Catering                                               Vegetarian Sandwich Platter Catering
 With cheese, lettuce, tomatoes, and onions.                                     With cheese, lettuce, tomatoes, and onions.


 $93.75                                                                          $81.25




 Dill Chicken Salad Sandwich Platter Catering                                    Tuna Salad Sandwich Platter
 With cheese, lettuce, tomatoes, and onions.                                     With cheese, lettuce, tomatoes, and onions.


 $93.75                                                                          $93.75




 Hot Dogs Catering




 $56.25




Hot Entrees Catering

 Chicken Parmesan Catering                                                       Baked Ziti Catering
 Breaded chicken cutlets with tomato sauce, mozzarella cheese, and parmesan.     Ziti with mozzarella and tomato sauce baked to perfection in our oven. Supersized for
                                                                                 your party.

 $81.25                                                                          $81.25




 Ziti Marinara Catering                                                          Spaghettis Alfredo Catering
                                                                                 Fettuccine tossed in our creamy homemade alfredo sauce.


 $60.00                                                                          $100.00




Salads Catering

 The Greek Salad Catering                                                        Lake Nona Market Salad Catering
 Romaine with feta, tomatoes, onions, Kalamata olives, pepperoncini, and green   Romaine with apples, dried cranberries, and candied walnuts & pecans.
 peppers.

 $60.00                                                                          $60.00




 Tuna Salad Catering                                                             Chef Salad Catering
 Romaine with tuna, tomatoes, cheddar, red onions, and Kalamata olives.          Romaine with tomatoes, bacon, ham, turkey, red onion, cheddar, and boiled egg.


 $81.25                                                                          $81.25
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            Caesar Salad Catering                                                            Garden Salad Catering
            Romaine with Parmesan, croutons, and Caesar dressing.                            Romaine with diced tomatoes, red onions, green peppers, croutons, black olives, and
                                                                                             banana peppers.

            $60.00                                                                           $60.00




       Sides Catering

            Meatballs & Marinara Catering




            $62.50




       Desserts Catering

            Nutella Knots Catering                                                           Cookies Catering
                                                                                             Your choice of cookies.


            $50.00                                                                           $43.75




       Beer & Wine

            Cabernet Sauvignon                                                               Pinot Grigio




            $16.00                                                                           $16.00




            Sauvignon Blanc                                                                  Moscatto




            $16.00                                                                           $16.00




            Chardonay                                                                        Sangria




            $16.00                                                                           $18.40




Lake Nona Deli & Market
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                                                                                                                                                 9:00 AM-8:30 PM                           open now
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